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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

ELIYAHU MIRLIS,

        Plaintiff,                                    Case No. 3:18-cv-02082 (MPS)
v.

SARAH GREER,

        Defendant.

                                   JOINT STATUS REPORT

        Pursuant to this Court’s Order (Doc. No. 42), the plaintiff, Eliyahu Mirlis (“Plaintiff”),

and the defendant, Sarah Greer (“Defendant”), hereby submit the following Joint Status Report:

     A. Status of the Case

        Plaintiff served his initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) on Defendant

on April 19, 2019. Defendant has not served initial disclosures upon Plaintiff. Plaintiff has

commenced discovery by serving his first set of interrogatories and requests for production on

Defendant on May 21, 2019. Plaintiff has also served Centreville Bank with a subpoena to

produce bank records of Defendant and has received production from Centerville Bank. In

addition, Plaintiff has served subpoenas on Start Community Bank and Liberty Bank, seeking

production of Defendant’s bank records.

        A hearing on Plaintiff’s Motion for Prejudgment Remedy is scheduled for July 11, 2019,

before the Hon. Robert A. Richardson. (See Doc. No. 54.) the parties have filed various

documents in connection with the hearing, including memoranda of law, lists of witnesses and

exhibits, and stipulations.

        Plaintiff expects that discovery will be completed within the time set forth in the

operative Scheduling Order, as amended.
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   B. Referral for Settlement Purposes

       The parties have discussed the desirability of referral to a United States Magistrate Judge

or to the District’s special masters program. Defendant believes that such referral would be

beneficial at this time. Plaintiff believes that such referral would be premature at this time, prior

to the completion of discovery.

   C. Trial before a United States Magistrate Judge

       Defendant consents to a trial before a United States Magistrate Judge. Plaintiff does not

consent to a trial before a United States Magistrate Judge.

   D. Length of Trial

      The parties estimate that trial will take approximately three full days.

Date: July 2, 2019.

THE PLAINTIFF,
ELIYAHU MIRLIS

By:     /s/ John L. Cesaroni
Matthew K. Beatman (ct08923)
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THE DEFENDANT,
SARAH GREER

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